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                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

United States of America                      §
                                              §
v.                                            §       Case Number: AU:24-M -00885(1)
                                              §
(1) Philip Taylor Sobash                      §

                                           ORDER
        Pursuant to the Due Process Protections Act, the Court confirms the United States’

obligation to produce all exculpatory evidence to the defendant pursuant to Brady v. Maryland,

373 U.S. 83 (1963), and its progeny, and orders it to do so. Failing to do so in a timely manner

may result in consequences, including, but not limited to, exclusion of evidence, adverse jury

instructions, dismissal of charges, contempt proceedings, or sanctions by the Court.


         IT IS SO ORDERED this 18th day of December, 2024.



                                                   ______________________________
                                                   DUSTIN M. HOWELL
                                                   UNITED STATES MAGISTRATE JUDGE




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